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                        UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF CALIFORN                         NOV 2 2 2011
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UNITED STATES OF AMERICA,                   CASE NO. llCR494      ~     _" __"~_~o.,,_._~...,_.~.~:;TY

                       Plaintiff,
               vs.                          JUDGMENT OF DISMISSAL
JHOANNA CAUDILLO,

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

    the Court has dismissed the case for unnecessary delay; or

~   the Court has granted the motion of the Government for dismissal,
    without prejudice; or

    the Court has granted the motion of the defendant for a judgment of
    acquittal; or

    a jury has been waived, and the Court has found the defendant not
    guilty; or

    the jury has returned its verdict, finding the defendant not guilty;

~   of the offense(s) as charged in the Information:

    21 USC 952 AND 960 - IMPORTATION OF METHAMPHETAMINE; 18 USC 2 - AIDING

    AND ABETTING

          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


DATED: 11/22/11
                                            WILLIAM MCCURINE, JR.
                                            UNITED STATES MAGISTRATE JUDGE
